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                          UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
Whole Woman's Health, Alamo City Surgery           §
Center PLLC, Brookside Women's Medical             §
Center PA, Houston Women's Clinic, Houston         §      NO: AU:21-CV-00616-RP
Women's Reproductive Services, Planned             §
Parenthood Center for Choice, Planned              §
Parenthood of Greater Texas Surgical Health
Service, Planned Parenthood South Texas
Surgical Center, Southwestern Women's
Surgery Center, Whole Women's Health
Alliance, Allison Gilbert, Bhavik Kumar, The
Afiya Center, Frontera Fund, Fund Texas
Choice, Jane's Due Process, Lilith Fund, Inc.,
North Texas Equal Access Fund, Erika Forbes,
Daniel Kanter, Marva Sadler

vs.

Austin Reeve Jackson, Penny Clarkston, Mark
Lee Dickson, Stephen Brint Carlton, Katherine
A. Thomas, Cecile Erwin Young, Allison
Vordenbaumen Benz, Ken Paxton

                                                ORDER


                The Court hereby sets and directs the parties, or counsel acting on their behalf, to
        appear by phone for a telephone conference on August 04, 2021 at 09:00 AM . The parties
        are directed to use the below dial-in information:
                **Please call in 5 minutes prior to start of hearing.**
                1. Toll free number: 888-363-4735
                2. Access code: 3948919
        If there are questions regarding the telephonic appearance, the parties should contact Julie
Golden, Courtroom Deputy, at julie_golden@txwd.uscourts.gov.


        The use of speaker phones is prohibited during a telephonic appearance. Additionally,
because earlier hearings in other cases may be in progress at the time attorneys call in for their
scheduled conference, attorneys should call in with their phones on “mute” and wait for the
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Courtroom Deputy to call this case.before they speak.

               SIGNED on 28th day of July, 2021.



                                                   ______________________________
                                                   ROBERT PITMAN
                                                   UNITED STATES DISTRICT JUDGE
